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                                                 December 13, 2023



Via ECF
Catherine O’Hagan Wolfe, Clerk of Court
United States Court of Appeals for the Second Circuit
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

          Re:      Michael D. Cohen v. United States of America, et al.
                   Case No.: 23-0035

Dear Ms. Wolfe:

        This office represents Defendant-Appellee, Donald J. Trump, in the above-captioned
matter. Please be advised that the undersigned will be arguing on Defendant-Appellee’s behalf at
the oral argument scheduled for Thursday, December 14, 2023, at 10:00am.

          Please do not hesitate to contact our office with any questions or concerns.

                                              Respectfully submitted,




                                              Alina Habba, Esq.
                                              For Habba Madaio & Associates LLP




cc:       All counsel of record (via ECF)




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